                                                       THE HONORABLE MARY JO HESTON
 1
                                                                            Chapter 13
 2

 3

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 6

 7                        UNITED STATES BANKRUPTCY COURT
                   WESTERN DISTRICT OF WASHINGTON AT TACOMA
 8
 9
     In re                                        Chapter 13
10
     SARAH HOOVER,                                Case No.: 19-42890-MJH
11
                    Debtor.                       Adversary No.: 20-04002-MJH
12

13 SARAH HOOVER,                                  APPELLANTS’ STATEMENT OF
                                                  ISSUES AND DESIGNATION OF
14                                                RECORD ON APPEAL FROM
                    Plaintiff,
                                                  MEMORANDUM AND ORDER ON
15
             vs.                                  CROSS-MOTIONS FOR SUMMARY
16                                                JUDGMENT (DOCS. 81 & 82) AND
   QUALITY LOAN SERVICE                           ORDER DENYING MOTION FOR
17 CORPORATION OF WASHINGTON,                     RECONSIDERATION (DOC. 99)
   PHH MORTGAGE CORPORATION
18 D/B/A PHH MORTGAGE SERVICES,
   HSBC BANK USA, N.A., AS
19 TRUSTEE OF THE FIELDSTONE
   MORTGAGE INVESTMENT TRUST,
20 SERIES 2006-2, NEWREZ, LLC, AND
   IH6 PROPERTY WASHINGTON, L.P.
21 D/B/A INVITATION HOMES

22                  Defendants.
23

24

25

26    APPELLANTS’ STATEMENT OF ISSUES AND                                             HOUSER LLP
      DESIGNATION OF RECORD ON APPEAL FROM                             600 University St., Ste. 1708
      MEMORANDUM AND ORDER ON CROSS-MOTIONS FOR                                 Seattle, WA 98101
      SUMMARY JUDGMENT (DOCS. 81 & 82) AND ORDER                               PH: (206) 596-7838
      DENYING MOTION FOR RECONSIDERATION (DOC. 99)                           FAX: (206) 596-7839
      AP NO. 20-04002-MJH
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 1         Defendants-Appellants PHH Mortgage Corporation D/B/A PHH Mortgage Services;
 2 NewRez, LLC; and HSBC Bank USA, N.A., as Trustee of the Fieldstone Mortgage

 3 Investment Trust, Series 2006-2 (collectively, “Defendants”), pursuant to Federal Rule of

 4 Bankruptcy Procedure 8009, submits its (i) statement of issues (“Statement of Issues”) to be

 5 presented on its appeal of the Memorandum Decision on Cross-Motions for Summary

 6 Judgment (Doc. 81); Order on Cross-Motions for Summary Judgment (Doc. 82); and Order

 7 Denying Motion for Reconsideration (Doc. 99) in the above-captioned case, and (ii)

 8 designation of items in the record (“Designation of Record”) to be included in the record on
 9 its appeal of both orders.

10         I.     STATEMENT OF ISSUES
11         Defendants present the following issues on appeal:
12         1.     Whether the Bankruptcy Court erred in granting Plaintiff’s Motion for Partial
13   Summary Judgment against the Defendants and in denying the Defendants’ Motion for
14   Summary Judgment on the issue of whether Defendants violated the automatic bankruptcy
15   stay and/or whether the Sale was void under the bankruptcy stay, given Defendants
16   established that Plaintiff’s interest in the Property was not protected under the automatic
17   stay because she was not in title to the Property, she was not obliged on the Loan and there
18   was therefore no debtor-creditor relationship, she was not a confirmed “successor in
19   interest” in the Defendants’ records due to her own failure to complete the necessary
20   documents to be so designated, Defendants did not have adequate notice or knowledge of
21   Plaintiff’s bankruptcy or her interest in the Property, the Property was held in a spendthrift
22   trust that excluded it from being property of the estate under § 541(c)(2), and Plaintiff
23   provided no evidence of any damages resulting from any alleged violation of the stay.
24         2.      Whether the Bankruptcy Court erred in denying Defendants’ Motion to Annul
25 the Automatic Stay based on the Court’s balancing of the equities, which failed to

26   APPELLANTS’ STATEMENT OF ISSUES AND                                                HOUSER LLP
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     SUMMARY JUDGMENT (DOCS. 81 & 82) AND ORDER                                  PH: (206) 596-7838
     DENYING MOTION FOR RECONSIDERATION (DOC. 99)                              FAX: (206) 596-7839
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 1 appropriately weigh the fact that Plaintiff obtained a benefit by living at the Property;

 2 Plaintiff filed for Bankruptcy for the sole purpose of stopping the sale of Property she knew

 3 secured a Loan that had been in long-term default and which she could not reinstate; Plaintiff

 4 delayed four months before filing for bankruptcy and notifying Defendants the day before

 5 the sale of her bankruptcy; and Plaintiff engaged in other inequitable conduct, and then

 6 sought damages and punitive damages in her claim against Defendants.

 7          3.     Whether the Bankruptcy Court erred in granting Plaintiff’s Motion for Partial
 8 Summary Judgment against Defendants and in denying the Defendants’ Motion for
 9 Summary Judgment with regard to whether Defendants engaged in a willful violation of the

10 automatic stay, and also erred in ruling PHH acted with a “complete disregard” for Plaintiff’s

11 rights,” because there was no evidence that Defendants had knowledge that Plaintiff was in

12 title to the Property (given that she wasn’t), nor that Defendants had knowledge that Plaintiff

13 was obliged under the contractual terms of the Loan (given that she wasn’t), nor did

14 Defendants have any basis for believing Plaintiff had an interest in the Property that was

15 protected by the automatic stay, among other reasons.

16          4.     Whether the Bankruptcy Court erred in denying Defendants’ Motion for
17 Reconsideration, in light of the information Defendants provided in the motion concerning

18 the Court’s ruling on whether Defendants “willfully” violated the automatic bankruptcy stay

19 and/or showed a “complete disregard” for Plaintiff’s rights; whether the balancing of equities

20 weighed in favor of denying Defendants’ Motion to Annul; and whether Plaintiff’s claim for

21 violation of the automatic stay could survive summary judgment when Plaintiff failed to

22 provide evidence of damages.

23          II.    DESIGNATION OF THE RECORD
24          Appellants designate the following items to be included in the record on its appeal.
25 To the extent exhibits are attached to or referred to in any of the items identified below, they

26   APPELLANTS’ STATEMENT OF ISSUES AND                                                HOUSER LLP
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 1 shall be included in the Designation of Record. In addition, Appellants hereby designate in

 2 the record on appeal the transcripts of the court hearings as further identified below and in

 3 Appellant’s Notification of Ordering Transcript on Appeal (“Transcript Notification”). The

 4 Transcript Notification is being filed with the Court simultaneously with this Statement of

 5 Issues.
        Docket #           Date Filed            Description of Document/Date Entered
 6

 7      Adversary
      Action No. 20-
 8     04002-MJH
     unless otherwise
 9
          stated
10                                      Adversary case 20-04002. Complaint by Sarah Hoover
                                        (attorneys Christina L Henry, Jason D Anderson,
11                                      Christina L Henry) against Quality Loan Services of
                                        Washington (attorneys Robert William McDonald,
12
                                        Lance Olsen), PHH Mortgage Corporation, New Rez,
13                        01/25/2020    LLC, HSBC Bank USA NA, IH6 Property Washington,
             1
                                        LP (attorneys John A. McIntosh, Thomas S Linde). .
14                                      (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C
                                        # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G
15
                                        # 8 Exhibit H) Nature of Suit: (14 (Recovery of
16                                      money/property - other)) (Henry, Christina) (Entered:
                                        01/25/2020)
17                                      Amend Complaint. Defendant not added. Defendants
                                        not added. Amending: Amended to correct name of
18
                                        defendant PHH Mortgage Corporation d/b/a PHH
19                                      Mortgage Services and to update addresses of
                                        defendants.. (Related document(s)1 Complaint)... Filed
20           7            02/04/2020
                                        by Christina L Henry of Henry & Degraaff, P.S. on
                                        behalf of Sarah Hoover. (Attachments: # 1 Exhibit A #
21
                                        2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E #
22                                      6 Exhibit F # 7 Exhibit G # 8 Exhibit H) (Henry,
                                        Christina) (Entered: 02/04/2020)
23
                                        Motion for Summary Judgment with Notice of Hearing.
24           13           02/24/2020
                                        Filed by Joseph W McIntosh on behalf of Qualilty Loan
25                                      Service Corporation of Washington The Hearing date is

26   APPELLANTS’ STATEMENT OF ISSUES AND                                               HOUSER LLP
     DESIGNATION OF RECORD ON APPEAL FROM                               600 University St., Ste. 1708
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                                     set for 3/24/2020 at 01:00 PM at Judge Heston's
 1
                                     Courtroom H, Union Station. Response due by
 2                                   3/17/2020. (McIntosh, Joseph) (Entered: 02/24/2020)

 3                                   Answer to Complaint (Related document(s)7 Amend
                                     Complaint). Filed by Joseph W McIntosh of McCarthy
 4
           14          02/25/2020    & Holthus, LLP on behalf of Qualilty Loan Service
 5                                   Corporation of Washington. (McIntosh, Joseph)
                                     (Entered: 02/25/2020)
 6
                                     Stipulated Statement Deposit of Surplus Funds... Filed
 7
                                     by Joseph W McIntosh of McCarthy & Holthus, LLP
           15          02/25/2020
 8                                   on behalf of Qualilty Loan Service Corporation of
                                     Washington. (McIntosh, Joseph) (Entered: 02/25/2020)
 9
                                     Answer to Complaint (Related document(s)7 Amend
10
                                     Complaint). Filed by John Anthony McIntosh of
11         17          02/28/2020    Schweet Linde & Coulson on behalf of IH6 Property
                                     Washington LP. (McIntosh, John) (Entered:
12                                   02/28/2020)
13
                                     ORDER Consolidating Actions and Setting Status
14                                   Conference. The Status Conference is set for 3/13/2020
           18          03/03/2020    at 09:00 AM at Judge Heston's Courtroom H, Union
15                                   Station, 1717 Pacific Ave, Courtroom H, Tacoma, WA.
16
                                     (SLM) (Entered: 03/03/2020)

17                                   Amended Answer to Complaint (Related document(s)7
                                     Amend Complaint). Filed by Ryan S Moore on behalf
18         22          03/11/2020    of HSBC Bank USA, NA, NewRez, LLC, PHH
19                                   Mortgage Corporation. (Moore, Ryan) (Entered:
                                     03/11/2020)
20
                                     Declaration of Christina L Henry (Related
21                                   document(s)13 Motion for Summary Judgment)... Filed
           26          03/17/2020
22                                   by Christina L Henry of Henry & Degraaff, P.S. on
                                     behalf of Sarah Hoover. (Henry, Christina) (Entered:
23                                   03/17/2020)
                                     Response to Motion for Summary Judgment and
24         28          03/17/2020
                                     Dismissal ny Defendant Quality Loan Service Coro of
25                                   Washington (Related document(s)13 Motion for

26   APPELLANTS’ STATEMENT OF ISSUES AND                                          HOUSER LLP
     DESIGNATION OF RECORD ON APPEAL FROM                          600 University St., Ste. 1708
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                                     Summary Judgment)... Filed by Christina L Henry of
 1
                                     Henry & Degraaff, P.S. on behalf of Sarah Hoover.
 2                                   (Attachments: # 1 Proposed Order) (Henry, Christina)
                                     (Entered: 03/17/2020)
 3                                   Reply (Related document(s)13 Motion for Summary
                                     Judgment)... Filed by Joseph W McIntosh of McCarthy
 4
                                     & Holthus, LLP on behalf of Qualilty Loan Service
           29          03/19/2020
 5                                   Corporation of Washington. (McIntosh, Joseph)
                                     (Entered: 03/19/2020)
 6                                   ORDER Directing Deposit of Surplus Funds to be
                                     Placed in a Non-Interest- Bearing Account in Court
 7
           40          05/18/2020    Registry Re: Stipulation for Deposit of Surplus Funds
 8                                   Into the Court Registry Pending Further Court Order
                                     (ECF NO. 15). (Related document(s)15). (TGR)
 9                                   (Entered: 05/18/2020)
                                     BNC Certificate of Notice (Related document(s)40
10         41          05/20/2020
                                     Order GENERIC). Notice Date 05/20/2020. (Admin.)
11                                   (Entered: 05/20/2020)
                                     Plaintiff's Motion for Summary Judgment (Partial) with
12                                   Notice of Hearing. Filed by Christina L Henry on behalf
13         42          08/06/2020    of Sarah Hoover The Hearing date is set for 9/3/2020 at
                                     09:00 AM at Judge Heston's Courtroom H, Union
14                                   Station. Response due by 8/27/2020. (Henry, Christina)
                                     (Entered: 08/06/2020)
15                                   Declaration of Sara Hoover in Support of Motion for
16                                   Partial Summary Judgment (Related document(s)42
                                     Motion for Summary Judgment)... Filed by Christina L
           43          08/07/2020
17                                   Henry of Henry & Degraaff, P.S. on behalf of Sarah
                                     Hoover. (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
18                                   Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7
19                                   Exhibit 7) (Henry, Christina) (Entered: 08/07/2020)
                                     Declaration of Christina L Henry in Support of Partial
20                                   Motion to Dismiss (Related document(s)42 Motion for
                                     Summary Judgment)... Filed by Christina L Henry of
21         44          08/07/2020    Henry & Degraaff, P.S. on behalf of Sarah Hoover.
22                                   (Attachments: # 1 Exhibit A # 2 Exhibit B - part 1 # 3
                                     Exhibit B - part 2 # 4 Exhibit C # 5 Exhibit D # 6
23                                   Exhibit E # 7 Exhibit F) (Henry, Christina) (Entered:
                                     08/07/2020)
24         45          08/07/2020    Notice of Hearing on Plaintiff's Motion for Partial
25                                   Summary Judgment (Related document(s)42 Motion for

26   APPELLANTS’ STATEMENT OF ISSUES AND                                          HOUSER LLP
     DESIGNATION OF RECORD ON APPEAL FROM                          600 University St., Ste. 1708
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                                     Summary Judgment). Filed by Christina L Henry on
 1
                                     behalf of Sarah Hoover. (Henry, Christina) (Entered:
 2                                   08/07/2020)
                                     Supplemental Filing of Proposed Order. Filed by
 3         46          08/07/2020    Christina L Henry on behalf of Sarah Hoover. (Related
                                     document(s)42 Motion for Summary Judgment).
 4
                                     (Henry, Christina) (Entered: 08/07/2020)
 5                                   Supplemental Declaration of Christina L Henry in
                                     Support of Partial Motion for Summary Judgment
 6         50          08/10/2020    (Related document(s)42 Motion for Summary
                                     Judgment)... Filed by Christina L Henry of Henry &
 7
                                     Degraaff, P.S. on behalf of Sarah Hoover. (Attachments:
 8                                   # 1 Exhibit G) (Henry, Christina) (Entered: 08/10/2020)
           56          08/19/2020    Stipulated Protective ORDER (Related document(s)54).
 9                                   (Attachments: # 1) (CMK) (Entered: 08/19/2020)
10                                   Motion for Summary Judgment Renewed (Dkts #13 and
                                     #29) with Notice of Hearing. Filed by Joseph W
11                                   McIntosh on behalf of Qualilty Loan Service
                                     Corporation of Washington The Hearing date is set for
12         58          10/15/2020    11/20/2020 at 09:00 AM at Judge Heston's Courtroom
13                                   H, Union Station. Response due by 11/13/2020.
                                     (Attachments: # 1 Proposed Order) (McIntosh, Joseph)
14                                   Incorrect Hearing Date and Incomplete Call In
                                     Information. Modified on 10/15/2020 (TGR). (Entered:
15                                   10/15/2020)
16                                   Defendant's Motion for Summary Judgment with Notice
                                     of Hearing and Supplemental Declaration of Christina L
17                                   Henry via suplemental doc 79. Filed by Ryan S Moore
                                     on behalf of HSBC Bank USA, NA, NewRez, LLC,
18                                   PHH Mortgage Corporation The Hearing date is set for
           62          10/16/2020
19                                   11/20/2020 at 09:00 AM at Telephonically. Response
                                     due by 11/13/2020. (Attachments: # 1 Proposed Order
20                                   Proposed Order) (Moore, Ryan) No Notice of Hearing
                                     Included. Filer Notified. Modified on 10/19/2020
21                                   (TGR). Modified on 1/7/2021 (DAS) (Entered:
22                                   10/16/2020)
                                     Declaration of Ryan S. Moore (Related document(s)62
23                                   Motion for Summary Judgment). Proof of Service. Filed
           63          10/16/2020
                                     by Ryan S Moore of Houser LLP on behalf of HSBC
24                                   Bank USA, NA, NewRez, LLC, PHH Mortgage
25                                   Corporation. (Moore, Ryan) (Entered: 10/16/2020)

26   APPELLANTS’ STATEMENT OF ISSUES AND                                          HOUSER LLP
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                                     Declaration (Related document(s)62 Motion for
 1
                                     Summary Judgment). Proof of Service. Filed by Ryan S
           64          10/16/2020
 2                                   Moore of Houser LLP on behalf of HSBC Bank USA,
                                     NA, NewRez, LLC, PHH Mortgage Corporation.
 3                                   (Moore, Ryan) (Entered: 10/16/2020)
                                     Motion for Summary Judgment with Supplemental
 4
                                     Declaration via Supplemental Doc 79 and Notice of
 5                                   Hearing. Filed by John Anthony McIntosh on behalf of
                                     IH6 Property Washington LP The Hearing date is set for
 6         65          10/16/2020    11/20/2020 at 09:00 AM at Judge Heston's Courtroom
                                     H, Union Station. Response due by 11/13/2020.
 7
                                     (Attachments: # 1 Proposed Order) (McIntosh, John).
 8                                   Related document(s) 79 Declaration filed by Plaintiff
                                     Sarah Hoover. Modified on 1/7/2021 (DAS). (Entered:
 9                                   10/16/2020)
                                     Response to Plaintiff's Motion for Partial Summary
10
                                     Judgment (Related document(s)42 Motion for Summary
11         68          11/13/2020    Judgment). Proof of Service. Filed by Robert W
                                     Norman on behalf of HSBC Bank USA, NA, NewRez,
12                                   LLC, PHH Mortgage Corporation. (Norman, Robert)
                                     (Entered: 11/13/2020)
13
                                     Response to (Related document(s)42 Motion for
14                                   Summary Judgment)... Filed by John Anthony McIntosh
           69          11/13/2020
                                     of Schweet Linde & Coulson on behalf of IH6 Property
15                                   Washington LP. (Attachments: # 1 Pleading
                                     Declaration) (McIntosh, John) (Entered: 11/13/2020)
16
                                     Plaintiff's Response to Plaintiffs Combined Opposition
17                                   To Motions for Summary Judgment by Defendants
                                     PHH Mortgage Corporation, HSBC Bank, and NewRez,
18         72          11/13/2020    LLC, And IH6 Property (Related document(s)62
19
                                     Motion for Summary Judgment, 65 Motion for
                                     Summary Judgment)... Filed by Christina L Henry of
20                                   Henry & Degraaff, P.S. on behalf of Sarah Hoover.
                                     (Henry, Christina) (Entered: 11/13/2020)
21                                   Declaration of Christina L Henry in Support of
22                                   Plaintiffs Combined Opposition To Motions for
                                     Summary Judgment by Defendants PHH Mortgage
           73          11/13/2020
23                                   Corporation, HSBC Bank, and NewRez, LLC, And IH6
                                     Property (Related document(s)62 Motion for Summary
24                                   Judgment, 65 Motion for Summary Judgment)... Filed
25                                   by Christina L Henry of Henry & Degraaff, P.S. on

26   APPELLANTS’ STATEMENT OF ISSUES AND                                          HOUSER LLP
     DESIGNATION OF RECORD ON APPEAL FROM                          600 University St., Ste. 1708
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                                     behalf of Sarah Hoover. (Attachments: # 1 Exhibit A #
 1
                                     2 Prudent Exhibit 3 # 3 Prudent Exhibit 4 # 4 Prudent
 2                                   Exhibit 6 # 5 Prudent Exhibit 10 # 6 Prudent Exhibit 13
                                     # 7 Prudent Exhibit 15 # 8 Prudent Exhibit 16 # 9
 3                                   Exhibit B # 10 Exhibit C # 11 Exhibit D # 12 Exhibit E
                                     # 13 Exhibit F # 14 Exhibit G # 15 QLS Exhibit 1 # 16
 4
                                     Exhibit H # 17 IHG Exhibit 1 # 18 Exhibit I # 19
 5                                   Exhibit J # 20 Exhibit K # 21 Exhibit L # 22 Stenman
                                     Exhibit 3) (Henry, Christina) (Entered: 11/13/2020)
 6                                   Reply (Related document(s)58 Motion for Summary
                                     Judgment)... Filed by Joseph W McIntosh of McCarthy
 7         74          11/16/2020
                                     & Holthus, LLP on behalf of Qualilty Loan Service
 8                                   Corporation of Washington. (McIntosh, Joseph)
                                     (Entered: 11/16/2020)
 9                                   Reply to Plaintiff's Combined Opposition to Motions for
                                     Summary Judgment (Related document(s)72 Response).
10
           75          11/17/2020    Proof of Service. Filed by Robert W Norman on behalf
11                                   of HSBC Bank USA, NA, NewRez, LLC, PHH
                                     Mortgage Corporation. (Norman, Robert) (Entered:
12                                   11/17/2020)
                                     Reply In Support of Plaintiffs Motion for Partial
13
                                     Summary Judgment (Related document(s)42 Motion for
           76          11/17/2020
14                                   Summary Judgment)... Filed by Christina L Henry of
                                     Henry & Degraaff, P.S. on behalf of Sarah Hoover.
15                                   (Henry, Christina) (Entered: 11/17/2020)
16
                                     Reply (Related document(s)65 Motion for Summary
                                     Judgment)... Filed by John Anthony McIntosh of
           77          11/17/2020
17                                   Schweet Linde & Coulson on behalf of IH6 Property
                                     Washington LP. (Attachments: # 1 Pleading
18                                   Declaration) (McIntosh, John) (Entered: 11/17/2020)
19                                   Supplemental Declaration of Christina L Henry in
                                     Support of Opposition to Motions for Summary
20                                   Judgment by Defendants (Related document(s)73
                                     Declaration 62Defendants Motion for Summary
21         79          01/07/2021    Judgment, 65 Motion For Summary Judgment)... Filed
22                                   by Christina L Henry of Henry & Degraaff, P.S. on
                                     behalf of Sarah Hoover. (Attachments: # 1 Exhibit K)
23                                   (Henry,Christina). Related document(s) 62 filed by
                                     Defendant NewRez, LLC, Defendant PHH Mortgage
24                                   Corporation, Defendant HSBC Bank USA, NA, 65
25

26   APPELLANTS’ STATEMENT OF ISSUES AND                                          HOUSER LLP
     DESIGNATION OF RECORD ON APPEAL FROM                          600 University St., Ste. 1708
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     DENYING MOTION FOR RECONSIDERATION (DOC. 99)                        FAX: (206) 596-7839
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                                      Motion for Summary Judgment filed by Defendant IH6
 1
                                      Property Washington LP. (Entered: 01/07/2021)
 2                                    Statement Praecipe to Plaintiff's Combined Opposition
                                      to Motions For Summary Judgment By Defendants
 3                                    PHH Mortgage Corporation, HSBC Bank, and NewRez,
                 80     01/07/2021    LLC, and IH6 Property (Related document(s)62 Motion
 4
                                      for Summary Judgment, 65 Motion for Summary
 5                                    Judgment)... Filed by Christina L Henry of Henry &
                                      Degraaff, P.S. on behalf of Sarah Hoover. (Henry,
 6                                    Christina) (Entered: 01/07/2021)
                                      Memorandum Decision on Cross- Motions for
 7          81          02/08/2021
                                      Summary Judgment. (Related document(s)58, 62, 65).
 8                                    (TGR) (Entered: 02/08/2021)
                                      ORDER on Cross- Motions for Summary Judgment.
 9          82          02/08/2021
                                      (Related document(s)42, 58, 62, 65). (TGR) (Entered:
                                      02/08/2021)
10
                                      ORDER Granting Motion to Extend Deadlines for
11          86          02/19/2021    Filing Motion for Reconsideration, Notice of Appeal,
                                      and Motion for Leave to Appeal. (Related
12                                    document(s)82) (SLM) (Entered: 02/19/2021)
13                                    Motion to Reconsider. Filed by Emilie K Edling on
                                      behalf of HSBC Bank USA, NA, IH6 Property
14                                    Washington LP, NewRez, LLC, PHH Mortgage
            88          02/26/2021
                                      Corporation. (Related document(s) 92 Amended Motion
15                                    to Reconsider, 94 Amended Motion to Reconsider )
16                                    (Edling, Emilie) Modified on 3/3/2021. (SLM).
                                      Modified on 3/8/2021 (TGR). (Entered: 02/26/2021)
17                                    Notice of Appeal and Statement of Election to District
                                      Court. USDC Case No 21-5154-BHS; Internal Appeal
18                                    No 21-T003. Fee Due $ 298. Filed by Emilie K Edling
19          89          02/26/2021    on behalf of HSBC Bank USA, NA, NewRez, LLC,
                                      PHH Mortgage Corporation. Record Transmission due
20                                    by 03/26/2021. (Related document(s) 81, 82) (Edling,
                                      Emilie) Modified on 3/3/2021. (SLM) (Entered:
21                                    02/26/2021)
22                                    Amended Motion to Reconsider Filed by Emilie K
            94          03/05/2021    Edling on behalf of HSBC Bank USA, NA, NewRez,
23                                    LLC, PHH Mortgage Corporation (Edling, Emilie)
                                      (Entered: 03/05/2021)
24          95          03/15/2021    Motion for Stay Pending Appeal ; Memorandum of
25                                    Points and Authorities in Support Thereof # 3:21-cv-

26    APPELLANTS’ STATEMENT OF ISSUES AND                                          HOUSER LLP
      DESIGNATION OF RECORD ON APPEAL FROM                          600 University St., Ste. 1708
      MEMORANDUM AND ORDER ON CROSS-MOTIONS FOR                              Seattle, WA 98101
      SUMMARY JUDGMENT (DOCS. 81 & 82) AND ORDER                            PH: (206) 596-7838
      DENYING MOTION FOR RECONSIDERATION (DOC. 99)                        FAX: (206) 596-7839
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                                      05154-BHS. Filed by Emilie K Edling on behalf of
 1
                                      HSBC Bank USA, NA, NewRez, LLC, PHH Mortgage
 2                                    Corporation. The Hearing date is set for 4/8/2021 at
                                      01:00 PM at Telephonically. (Attachments: # 1
 3                                    Proposed Order Proposed Order)(Edling, Emilie)
                                      (Entered: 03/15/2021)
 4
                                      Supplemental Memorandum of Points and Authorities
 5                                    in Support of Motion to Stay (Related document(s)95
            97          03/18/2021    Motion for Stay Pending Appeal). Proof of Service.
 6                                    Filed by Emilie K Edling on behalf of HSBC Bank
                                      USA, NA, NewRez, LLC, PHH Mortgage Corporation.
 7
                                      (Edling, Emilie) (Entered: 03/18/2021)
 8          99          03/19/2021    ORDER Denying Motion for Reconsideration. (Related
                                      Doc # 94) . (TGR) (Entered: 03/19/2021)
 9                                    Plaintiff's Response to Motion for Stay Pending Appeal
                                      (Related document(s)95 Motion for Stay Pending
10          101         03/22/2021
                                      Appeal)... Filed by Christina L Henry of Henry &
11                                    Degraaff, P.S. on behalf of Sarah Hoover. (Henry,
                                      Christina) (Entered: 03/22/2021)
12                                    Declaration of Sarah Hoover in Support of Opposition
13                                    to Stay Pending Appeal (Related document(s)95 Motion
            102         03/22/2021
                                      for Stay Pending Appeal)... Filed by Christina L Henry
14                                    of Henry & Degraaff, P.S. on behalf of Sarah Hoover.
                                      (Henry, Christina) (Entered: 03/22/2021)
15                                    Declaration of Christina L Henry in Support of
16                                    Opposition to Stay Pending Appeal (Related
                                      document(s)95 Motion for Stay Pending Appeal)...
17                                    Filed by Christina L Henry of Henry & Degraaff, P.S.
            103         03/22/2021
                                      on behalf of Sarah Hoover. (Attachments: # 1 Exhibit A
18                                    # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E
19                                    # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I #
                                      10 Exhibit J # 11 Exhibit K # 12 Exhibit L) (Henry,
20                                    Christina) (Entered: 03/22/2021)
                                      Reply in Support of Motion to Stay and Discovery
21                                    Issues (Related document(s)95 Motion for Stay Pending
22                                    Appeal). Proof of Service. Filed by Emilie K Edling on
            107         03/25/2021
                                      behalf of HSBC Bank USA, NA, NewRez, LLC, PHH
23                                    Mortgage Corporation. (Attachments: # 1 Declaration of
                                      Emilie K. Edling in Support) (Edling, Emilie) (Entered:
24                                    03/25/2021)
25

26    APPELLANTS’ STATEMENT OF ISSUES AND                                           HOUSER LLP
      DESIGNATION OF RECORD ON APPEAL FROM                           600 University St., Ste. 1708
      MEMORANDUM AND ORDER ON CROSS-MOTIONS FOR                               Seattle, WA 98101
      SUMMARY JUDGMENT (DOCS. 81 & 82) AND ORDER                             PH: (206) 596-7838
      DENYING MOTION FOR RECONSIDERATION (DOC. 99)                         FAX: (206) 596-7839
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                                       ORDER Denying Motion to Stay Proceedings Pending
 1
            110         03/30/2021     Appeal and Ordering Other Relief. Status Conference
 2                                     set for 4/20/21 at 2:30 PM Telephonically. (Related Doc
                                       # 95) . (TGR) (Entered: 03/30/2021)
 3                                     Notice of Appeal and Statement of Election to District
                                       Court.. (AMENDED) Fee Due $ 298(AMENDED)
 4
                                       (Related document(s)82 Order GENERIC, 99 Order Re
            113         03/30/2021
 5                                     Motion to Reconsider). Filed by Emilie K Edling on
                                       behalf of HSBC Bank USA, NA, NewRez, LLC, PHH
 6                                     Mortgage Corporation. Record Transmission due by
                                       04/27/2021, (Edling, Emilie) (Entered: 03/30/2021)
 7
         3/31/2021           Not yet
                                       Statement of Issues and Designation of Record
 8                          docketed
                                       Docket for Adversary Action No. 20-04002-MJH,
 9          N/A               N/A
                                       showing all minute entries without docket numbers and
                                       other entries
10
                                       Chapter 13 Voluntary Petition, Individual, . Statement
11                                     of Financial Affairs due 9/24/2019. Schedules A-J due
        Bankruptcy                     9/24/2019. Summary of schedules due 9/24/2019.
12      Petition #19-                  Chapter 13 Statement of Current Monthly Income and
                        09/09/2019
13
        42890-MJH                      Calculation of Commitment Period, Form 122C-1 Due
                                       9/24/2019 Chapter 13 Plan due 9/24/2019. Incomplete
14           1                         Filings due by 9/24/2019. Filed by Sarah Hoover (PSB)
                                       Additional attachment(s) added on 9/9/2019 (MT).
15                                     (Entered: 09/09/2019)
16      Bankruptcy
        Petition #19-
                        09/09/2019     Application to Pay Filing Fees in Installments . . Filed
17      42890-MJH
                                       by Sarah Hoover (MT) (Entered: 09/09/2019)
18           5
19                                     Notice of Order Approving Filing Fee Installment
        Bankruptcy
                                       Payments, ORDER Granting Payment of Filing Fee in
        Petition #19-
20                      09/09/2019     Installments: Entry of an order of discharge will be held
        42890-MJH
                                       in abeyance until filing fees are paid in full. Mark L.
21                                     Hatcher, Clerk. Text only order . Final Installment
             6
22                                     Payment due by 1/7/2020. (MT) (Entered: 09/09/2019)
        Bankruptcy
23      Petition #19-
                        09/09/2019
        42890-MJH                      Notice of Deficient Filing . (MT) (Entered: 09/09/2019)
24

25           7

26    APPELLANTS’ STATEMENT OF ISSUES AND                                             HOUSER LLP
      DESIGNATION OF RECORD ON APPEAL FROM                             600 University St., Ste. 1708
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      SUMMARY JUDGMENT (DOCS. 81 & 82) AND ORDER                               PH: (206) 596-7838
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        Bankruptcy
 1
        Petition #19-                 Debtor(s) Requirements to Send Documents to the
                        09/10/2019
 2      42890-MJH                     Trustee. Sent to BNC for Mailing. (admin) (Entered:
                                      09/10/2019)
 3           9
                                      Pursuant to Local Bankruptcy Rule 1017-1(d) and Fed.
 4
                                      R. Bankr. P. 3015(b), the Chapter 13 Trustee (as
 5                                    designated by the United States Trustee) moves the
                                      Court ex parte for an order dismissing this case because
 6      Bankruptcy
                                      Debtor failed to timely file schedules, statements, lists
        Petition #19-
                        09/25/2019    and/or a plan. The Debtor was given notice of this
 7      42890-MJH
                                      deficiency, the deadline, and that the Chapter 13 Trustee
 8                                    may file this ex parte motion if the debtor did not cure
      (Not numbered)
                                      the deficiency. (Related document(s)7 Notice of
 9                                    Deficient Filing). Filed by Michael G. Malaier on behalf
                                      of Michael G. Malaier. (Malaier, Michael) (Entered:
10
                                      09/25/2019)
11                                    Ex Parte ORDER Dismissing Case for Inadequate
                                      Filing. This matter comes before the Court on the
12                                    Chapter 13 Trustee's Ex Parte Application for Order
                                      Dismissing Case for Failure to File Schedules,
13
                                      Statements, Lists, or Plan. The debtor(s) having
14                                    received notice of dismissal for failure to timely file
        Bankruptcy
                                      required schedules, statements, lists and/or plan, this
15      Petition #19-
                        09/26/2019    case is dismissed pursuant to Local Bankruptcy Rule
        42890-MJH
                                      1017-1(d) and Fed. R. Bankr. P. 3015(b) for the
16
                                      debtor(s)'s failure to timely file schedules, statements,
             14
17                                    lists and/or chapter 13 plan.

18                                    Hereby ordered by Judge Mary Jo Heston.
19
                                      This Notice of Electronic Filing is the Official ORDER
20                                    for this entry. (Entered: 09/26/2019)
        Bankruptcy
21      Petition #19-
                        10/02/2019    Chapter 13 Trustee's Final Report and Account
        42890-MJH
22                                    (Malaier, Michael) (Entered: 10/02/2019)
23            16
        Bankruptcy                    CLOSED. This matter has come before the Court in
24                      10/02/2019
        Petition #19-                 conjunction with the Chapter 13 Trustee filing his Final
        42890-MJH                     Report and Accounting, a copy of which was provided
25

26    APPELLANTS’ STATEMENT OF ISSUES AND                                           HOUSER LLP
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                                      to debtor and debtor's attorney. For purposes of this
 1
      (Not numbered)                  order, debtor refers to the above-named individual
 2                                    petitioner or joint petitioners. The Court finds that the
                                      debtor's case was dismissed pursuant to the Court's
 3                                    Order. Now, therefore, it is hereby ORDERED that the
                                      Final Account of the Trustee be and the same is hereby
 4
                                      approved; and it is further ORDERED that the standing
 5                                    trustee be and hereby is discharged as Trustee; and it is
                                      further ORDERED that this case be and hereby is closed
 6                                    . (MT) (Entered: 10/02/2019)
                                      Motion to Reopen Chapter 13 Case ... Filed by John
 7
        Bankruptcy                    Anthony McIntosh on behalf of IH6 Property
 8      Petition #19-                 Washington L.P. The Hearing date is set for 2/3/2020 at
                        01/10/2020
        42890-MJH                     01:00 PM at Judge Heston's Courtroom H, Union
 9                                    Station. Response due by 1/27/2020. (Attachments: # 1
             17                       Proposed Order # 2 Notice of Hearing) (McIntosh,
10
                                      John) (Entered: 01/10/2020)
11                                    Motion for Relief from Stay, Real Property located at
                                      18205 106th Street East, Bonney Lake, WA... Filed by
12      Bankruptcy
                                      John Anthony McIntosh on behalf of IH6 Property
        Petition #19-
                        01/10/2020    Washington L.P. The Hearing date is set for 2/3/2020 at
13      42890-MJH
                                      01:00 PM at Judge Heston's Courtroom H, Union
14                                    Station. Response due by 1/27/2020. (Attachments: # 1
             18
                                      Proposed Order # 2 Notice of Hearing) (McIntosh,
15                                    John) (Entered: 01/10/2020)
                                      Declaration of Michael Lappano (Related
16      Bankruptcy
                                      document(s)17 Motion to Reopen Chapter 13 Case, 18
        Petition #19-
17                      01/10/2020    Motion for Relief from Stay)... Filed by John Anthony
        42890-MJH
                                      McIntosh of Schweet Linde & Coulson on behalf of IH6
18                                    Property Washington L.P.. (McIntosh, John) (Entered:
             19
                                      01/10/2020)
19
                                      Declaration of Jeff Stenman (Related document(s)17
        Bankruptcy
20                                    Motion to Reopen Chapter 13 Case, 18 Motion for
        Petition #19-
                        01/10/2020    Relief from Stay)... Filed by John Anthony McIntosh of
21      42890-MJH
                                      Schweet Linde & Coulson on behalf of IH6 Property
                                      Washington L.P.. (McIntosh, John) (Entered:
22           20
                                      01/10/2020)
23      Bankruptcy                    Declaration John McIntosh (Related document(s)17
        Petition #19-   01/10/2020    Motion to Reopen Chapter 13 Case, 18 Motion for
24      42890-MJH                     Relief from Stay)... Filed by John Anthony McIntosh of
25                                    Schweet Linde & Coulson on behalf of IH6 Property

26    APPELLANTS’ STATEMENT OF ISSUES AND                                           HOUSER LLP
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             21                       Washington L.P.. (McIntosh, John) (Entered:
 1
                                      01/10/2020)
 2                                    Proof of Service . Filed by John Anthony McIntosh on
        Bankruptcy
                                      behalf of IH6 Property Washington L.P.. (Related
 3      Petition #19-
                        01/10/2020    document(s)17 Motion to Reopen Chapter 13 Case, 18
        42890-MJH
                                      Motion for Relief from Stay, 19 Declaration, 20
 4
                                      Declaration, 21 Declaration). (McIntosh, John)
             22
 5                                    (Entered: 01/10/2020)
        Bankruptcy                    Response to Motion to Annul the Automatic Stay
 6      Petition #19-                 (Related document(s)18 Motion for Relief from Stay)...
                        01/27/2020
        42890-MJH                     Filed by Christina L Henry of Henry & Degraaff, P.S.
 7
                                      on behalf of Sarah Hoover. (Henry, Christina) (Entered:
 8           24                       01/27/2020)
                                      Declaration of Sarah Hoover in Support of Response to
 9                                    Motion to Annul the Stay (Related document(s)18
                                      Motion for Relief from Stay)... Filed by Christina L
10      Bankruptcy
                                      Henry of Henry & Degraaff, P.S. on behalf of Sarah
        Petition #19-
11                      01/27/2020    Hoover. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
        42890-MJH
                                      Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7
12                                    Exhibit G # 8 Exhibit H # 9 Exhibit I # 10 Exhibit J #
             25
                                      11 Exhibit K # 12 Exhibit L # 13 Exhibit M # 14
13
                                      Exhibit N # 15 Exhibit O # 16 Exhibit P # 17 Exhibit Q)
14                                    (Henry, Christina) (Entered: 01/27/2020)
                                      Declaration of Christina L Henry in Support of
15      Bankruptcy                    Response to Motion to Annul the Automatic Stay
16
        Petition #19-                 (Related document(s)18 Motion for Relief from Stay)...
                        01/27/2020
        42890-MJH                     Filed by Christina L Henry of Henry & Degraaff, P.S.
17                                    on behalf of Sarah Hoover. (Attachments: # 1 Exhibit 1
             26                       # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5)
18                                    (Henry, Christina) (Entered: 01/27/2020)
19                                    Reply in Support of Motion to Annul Automatic Stay
        Bankruptcy
                                      (Related document(s)18 Motion for Relief from Stay).
        Petition #19-
20                      01/29/2020    Proof of Service. Filed by John Anthony McIntosh of
        42890-MJH
                                      Schweet Linde & Coulson on behalf of IH6 Property
21                                    Washington L.P.. (Attachments: # 1 Proof of Service)
             28
22                                    (McIntosh, John) (Entered: 01/29/2020)
        Bankruptcy                    Supplemental Declaration of Sarah Hoover in Support
23      Petition #19-                 of Response to Motion to Annul the Automatic Stay
                        01/31/2020
        42890-MJH                     (Related document(s)18 Motion for Relief from Stay)...
24                                    Filed by Christina L Henry of Henry & Degraaff, P.S.
25           33                       on behalf of Sarah Hoover. (Attachments: # 1 Exhibit 1

26    APPELLANTS’ STATEMENT OF ISSUES AND                                           HOUSER LLP
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                                        - Trust Agreement # 2 Exhibit 2 - Amended One to
 1
                                        Trust Agreement # 3 Exhibit 3 - Ali Suleiman Trust -
 2                                      Amendment Two # 4 Exhibit 4 - Ali Suleiman Trust -
                                        Amendment Three # 5 Exhibit 5 - Ali Suleiman Trust -
 3                                      Amendment Four # 6 Exhibit 6 - Affidavit of Trust
                                        Existence and Authority signed on November 25, 2003
 4
                                        # 7 Exhibit 7 - ertificate and Affidavit of Trust
 5                                      Existence signed on March 19, 2015 # 8 Exhibit 8 -
                                        Codicil to the Last Will of Ali Suleiman) (Henry,
 6                                      Christina) (Entered: 01/31/2020)
        Bankruptcy
 7
        Petition #19-                   ORDER REOPENED CASE. Granting Motion to
                        02/14/2020
 8      42890-MJH                       Reopen Chapter 13 Case. (Related Doc # 17) Review
                                        Case on: 4/14/2020. (DAS) (Entered: 02/14/2020)
 9            37
        Bankruptcy
10                                      Supplemental Reply (Related document(s)18 Motion for
        Petition #19-
                                        Relief from Stay)... Filed by John Anthony McIntosh of
11      42890-MJH       02/17/2020
                                        Schweet Linde & Coulson on behalf of IH6 Property
12                                      Washington L.P.. (McIntosh, John) (Entered:
             38
                                        02/17/2020)
13
        Bankruptcy
                                        Joinder in Support (Related document(s)18 Motion for
14      Petition #19-
                        02/20/2020      Relief from Stay). Proof of Service. Filed by Ryan S
        42890-MJH
15                                      Moore on behalf of PHH Mortgage Corporation.
                                        (Moore, Ryan) (Entered: 02/20/2020)
              40
16
        Bankruptcy
                                        Declaration of Ryan S. Moore (Related document(s)40
17      Petition #19-
                            2/20/2020   Joinder). Proof of Service. Filed by Ryan S Moore on
        42890-MJH
18                                      behalf of PHH Mortgage Corporation. (Attachments: #
                                        1 Exhibit A) (Moore, Ryan) (Entered: 02/20/2020)
              41
19
        Bankruptcy
20      Petition #19-                   ORDER Consolidating Actions and Setting Status
                        03/03/2020
        42890-MJH                       Conference. (Related document(s)18, 23) (SLM)
21                                      (Entered: 03/03/2020)
22           44
                                        Docket for Bankruptcy Petition #19-42890-MJH,
                              N/A
23          N/A                         showing all minute entries without docket numbers and
                                        other entries
24

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26    APPELLANTS’ STATEMENT OF ISSUES AND                                            HOUSER LLP
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      DATED: March 31, 2021                       HOUSER LLP
 1
                                                  By: /s/ Emilie K. Edling
 2                                                Emilie K. Edling WSBA No. 45042
                                                  eedling@houser-law.com
 3                                                Robert W. Norman, Jr. WSBA No. 37094
                                                  rnorman@houser-law.com
 4                                                Attorneys for Defendants PHH Mortgage
                                                  Corporation, HSBC Bank USA, N.A., as
 5                                                Trustee of the Fieldstone Mortgage
                                                  Investment Trust, Series 2006-2, and
 6                                                NewRez, LLC
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26    APPELLANTS’ STATEMENT OF ISSUES AND                                        HOUSER LLP
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 1                              CERTIFICATE OF SERVICE
 2         On March 31, 2021, I served the foregoing document(s): APPELLANTS’
 3 STATEMENT OF ISSUES AND DESIGNATION OF RECORD ON APPEAL FROM

 4 MEMORANDUM AND ORDER ON CROSS-MOTIONS FOR SUMMARY JUDGMENT

 5 (DOCS. 81 & 82) AND ORDER DENYING MOTION FOR RECONSIDERATION (DOC.
   99), in the manner described below:
 6
         Jason D. Anderson              CM/ECF
 7       Anderson Santiago, PLLC        UPS Overnight
                                        UPS 2 Day Shipping
 8       787 Maynard Ave S., Suite B    Email
         Seattle, WA 98104              Courier
 9       Jason@alkc.net
         Counsel for Plaintiff/Debtor
10
         Christina L. Henry             CM/ECF
11
         Henry & Degraaff, P.S.         UPS Overnight
                                        UPS 2 Day Shipping
12       787 Maynard Ave S., Suite B    Email
         Seattle, WA 98104              Courier
13       chenry@hdm-legal.com
         Counsel for Plaintiff/Debtor
14

15       Joseph W. McIntosh                       CM/ECF
         McCarthy & Holthus, LLP                  UPS Overnight
16                                                UPS 2 Day Shipping
         108 1st Ave South, Suite 300             Email
         Seattle, WA 98104                        Courier
17       jmcintosh@mccarthyholthus.com
18       Counsel for Quality Loan Service
         Corporation of Washington
19
         John A. McIntosh                         CM/ECF
20                                                UPS Overnight
         Schweet Linde & Coulson, PLLC            UPS 2 Day Shipping
21       575 S. Michigan St.                      Email
         Seattle, WA 98108                        Courier
22       johnm@schweetlaw.com
         Counsel for IH6 Property Washington,
23       L.P.
24

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26    APPELLANTS’ STATEMENT OF ISSUES AND                                        HOUSER LLP
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            I declare under penalty of perjury under the laws of the United States of America that
 1
     the foregoing is true and correct.
 2
            Dated: March 31, 2021
 3

 4                                                     Rachel M. Perez
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26    APPELLANTS’ STATEMENT OF ISSUES AND                                               HOUSER LLP
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